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                                  6   Proposed Class Counsel
                                  7
                                                           UNITED STATES DISTRICT COURT
                                  8
                                  9                      CENTRAL DISTRICT OF CALIFORNIA

                                 10                                    WESTERN DIVISION
                                 11
                                      Helen Kim, individually and on             CASE NO.:
                                 12   behalf of all others similarly situated,
3055 Wilshire Blvd, 12th Floor




                                                          Plaintiff,             CLASS ACTION
Los Angeles, CA 90010-1137
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                                 13
                                 14         vs.
                                                                                 COMPLAINT
                                 15   Marriott International, Inc., a
                                      Delaware Corporation; Marriott Hotel DEMAND FOR JURY TRIAL
                                 16
                                      Services, Inc., a Delaware
                                 17   Corporation; and DOES 1 to 10,
                                      inclusive,
                                 18
                                 19                       Defendants.
                                 20
                                            Plaintiff Helen Kim (“Plaintiff”), individually and on behalf of all others
                                 21
                                      similarly situated, brings this action based upon personal knowledge as to herself
                                 22
                                      and her own acts, and as to all other matters upon information and belief, based
                                 23
                                      upon, inter alia, the investigations of her attorneys.
                                 24
                                                                 NATURE OF THE ACTION
                                 25
                                            1.     Defendant Marriott International, Inc. and Marriott Hotel Services,
                                 26
                                      Inc., (collectively as “Defendants” or “Marriott”) owns and manages hotel
                                 27
                                      properties located in California, in various states throughout the United States.
                                 28
                                                                                 1
                                                              COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   Marriott has about 3,150 lodging properties located in the United States and 68
                                  2   other countries and territories.
                                  3         2.     Every day, hundreds (if not thousands) of consumers book hotel
                                  4   rooms at a hotel that is owned and/or managed by Marriott. The guests who have
                                  5   stayed at Marriott’s Starwood Brand did not expect that since 2014, their
                                  6   information was being stolen.
                                  7         3.     When consumers book a hotel room at a hotel that is owned and/or
                                  8   managed by Marriott, they entrust Marriott with various forms of personally
                                  9   identifiable information (“PII”) that Marriott requires them to divulge in order to
                                 10   reserve a hotel room. That PII includes the customer’s full name, credit and debit
                                 11   card account numbers, card expiration dates, card verification codes, mailing
                                 12   address, phone number, email address, passport number, Starwood Preferred
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                                      Guest (“SPG”) account information, date of birth, gender, arrival and departure
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                                 13
                                 14   information, reservation date. Customers provide their information to Marriott
                                 15   based on their reasonable expectation that Marriott will take appropriate steps to
                                 16   safeguard their PII from being exposed to or accessed by other parties.
                                 17         4.     On or about November 30, 2018, Defendant issued a notice stating:
                                 18   “Marriott values our guests and understands the importance of protecting personal
                                 19   information. We have taken measures to investigate and address a data security
                                 20   incident involving the Starwood guest reservation database. The investigation has
                                 21   determined that there was unauthorized access to the database, which contained
                                 22   guest information relating to reservations at Starwood properties on or before
                                 23   September 10, 2018.” Notice of Data Breach attached hereto as Exhibit A.
                                 24         5.     Because the security of their PII has been compromised as a result of
                                 25   the data breach, Plaintiff and each member of the class alleged herein (the “Class
                                 26   Members”) have been placed at an imminent, immediate, and continuing risk of
                                 27   identity theft-related harm. As a result, Plaintiff and the Class Members have been
                                 28   required to undertake expensive and time-consuming efforts to mitigate the actual
                                                                               2
                                                              COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   and potential impact of the data breach on their lives by, among other things,
                                  2   placing “freezes” and “alerts” with credit reporting agencies, contacting their
                                  3   financial institutions, closing or modifying financial accounts, and closely
                                  4   reviewing and monitoring their credit reports and accounts for unauthorized
                                  5   activity.
                                  6          6.    Many Class Members, including Plaintiff, have been or will be
                                  7   required to purchase credit and identity monitoring service to alert them to
                                  8   potential misappropriation of their identity and to combat risk of further identity
                                  9   theft. At a minimum, therefore, Plaintiff (and each Class Member) has suffered
                                 10   compensable damages because she will be forced to incur the cost of a monitoring
                                 11   service which is a reasonable and necessary prophylactic step to prevent and
                                 12   mitigate future loss.
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                                 13                                     THE PARTIES
                                 14          7.    Plaintiff is a California citizen who resides in Los Angeles,
                                 15   California. Plaintiff is a customer of Defendant and gave her PII to Defendant in
                                 16   connection with a hotel booking at Marriott’s hotel in California. Plaintiff is
                                 17   informed and believes that, shortly after the data breach, Plaintiff’s debit and
                                 18   credit card information was accessed by hackers. In addition, Plaintiff has to
                                 19   purchase credit and personal identity monitoring service to alert her to potential
                                 20   misappropriation of her identity and to combat risk of further identity theft.
                                 21   Exposure of Plaintiff’s PII as a result of the data breach has placed her at
                                 22   imminent, immediate, and continuing risk of further identity theft-related harm.
                                 23          8.    Defendant Marriott is a Delaware corporation with its corporate
                                 24   headquarters located at 10400 Fernwood Road, Bethesda, MD 20817. Marriott is
                                 25   registered to do business in the State of California and conducts substantial
                                 26   business in the State of California and in Los Angeles County, in particular.
                                 27          9.    Plaintiff is unaware of the true names, identities, and capacities of the
                                 28   defendants sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this
                                                                                3
                                                              COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   complaint to allege the true names and capacities of DOES 1 to 10 if and when
                                  2   ascertained. Plaintiff is informed and believes, and thereupon alleges, that each of
                                  3   the defendants sued herein as a DOE is legally responsible in some manner for the
                                  4   events and happenings alleged herein and that each of the defendants sued herein
                                  5   as a DOE proximately caused injuries and damages to Plaintiff as set forth below.
                                  6                              JURISDICTION AND VENUE
                                  7          10.    This Court has subject matter jurisdiction over the state law claims
                                  8   alleged in this First Amended Complaint pursuant to the Class Action Fairness
                                  9   Act, 28 U.S.C. §1332(d)(2)(A) because: (a) the matter in controversy exceeds the
                                 10   sum of $5 million, exclusive of interest and costs; and (b) all of the class members
                                 11   are citizens of a state (California) that is different from the state of citizenship of
                                 12   Defendant (Delaware).
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                                 13          11.    This Court has personal jurisdiction over Defendant because but for
                                 14   the fact that Marriott is registered to do business and conducting business in the
                                 15   State of California, Plaintiff and the Class Members would not have been able to
                                 16   book rooms at hotels owned and managed by Marriott, would not have provided
                                 17   their PII to Marriott, and would not have had their PII compromised and exposed
                                 18   in the Marriott data breach. Because Plaintiff’s and the Class Members’ claims
                                 19   arise out Defendant’s business activities within the State of California, this Court
                                 20   has personal jurisdiction over Defendant for purposes of adjudicating the claims
                                 21   for relief alleged in this action.
                                 22          12.    Venue is appropriate in this District because, among other things: (a)
                                 23   Plaintiff is a resident of this District and a citizen of the State of California; (b)
                                 24   Defendant directed its business activities at residents in this District; and (c) many
                                 25   of the acts and omissions that give rise to the claims for relief alleged in this
                                 26   action took place in this judicial District. Venue is further appropriate in this
                                 27   District pursuant to 28 U.S.C. § 1391 because Defendant conducts a significant
                                 28   amount of business in this District and because Defendant has substantial contacts
                                                                                 4
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                                  1   in this District.
                                  2                             FACTUAL ALLEGATIONS
                                  3          A.     The Data Breach
                                  4          13.    On September 8, 2018, Marriott received an alert from an internal
                                  5   security tool regarding an attempt to access the Starwood guest reservation
                                  6   database.
                                  7          14.    Marriott discovered that an unauthorized party had copied and
                                  8   encrypted guest information.     On November 19, 2018, Marriott was able to
                                  9   decrypt the information and determined that the contents were from the Starwood
                                 10   guest reservation database.     Marriott has not finished identifying duplicate
                                 11   information in the database, but it contains information on up to approximately
                                 12   500 million guests who made a reservation at a Starwood property. For
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                                 13   approximately 327 million of these guests, the information includes some
                                 14   combination of name, mailing address, phone number, email address, passport
                                 15   number, Starwood Preferred Guest (“SPG”) account information, date of birth,
                                 16   gender, arrival and departure information, reservation date, communication
                                 17   preferences, and payment card numbers and payment card expiration dates.
                                 18          B.     California Recognizes the Importance of PII
                                 19          15.    Cal. Civ. Code §1798.81.5(a)(1) states that: “It is the intent of the
                                 20   Legislature to ensure that personal information about California residents is
                                 21   protected. To that end, the purpose of this section is to encourage businesses that
                                 22   own, license, or maintain personal information about Californians to provide
                                 23   reasonable security for that information.”
                                 24          C.     PII Is Valuable to Hackers and Thieves
                                 25          16.    It is well known, and the subject of many media reports, that payment
                                 26   card data is highly coveted and a frequent target of hackers. Especially in the
                                 27   technology industry, the issue of data security and threats thereto is well known.
                                 28   Despite well-publicized litigation and frequent public announcements of data
                                                                               5
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                                  1   breaches, Defendant maintained an insufficient and inadequate system to protect
                                  2   the PII of Plaintiff and Class Members.
                                  3          17.    Legitimate organizations and criminal underground organizations
                                  4   alike recognize the value of PII. Otherwise, they would not aggressively seek or
                                  5   pay for it.
                                  6          18.    Credit or debit card information is highly valuable to hackers.
                                  7   Identity thieves use stolen PII for a variety of crimes, including credit card fraud,
                                  8   phone or utilities fraud, and bank/finance fraud. Credit and debit card information
                                  9   that is stolen from the point of sale is known as “dumps.” See Krebs on Security
                                 10   April 16, 2016, Blog Post, available at https://krebsonsecurity.com/2016/04/all-
                                 11   about-fraud-how-crooks-get-the-cvv/, attached hereto as Exhibit B. Credit and
                                 12   debit card dumps can be sold in the cybercrime underground for a retail value of
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                                      about “$20 apiece.” Id. This information can also be used to clone a debit or
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                                 13
                                 14   credit card. Id.
                                 15          D.     The Data Breach Has Resulted and Will Result in Additional
                                 16          Identity Theft and Identity Fraud
                                 17          19.    Defendant failed to implement and maintain reasonable security
                                 18   procedures and practices appropriate to protect the PII of Plaintiff and the Class
                                 19   Members.
                                 20          20.    The ramifications of Defendant’s failure to keep Plaintiff’s and the
                                 21   Class Members’ data secure are severe.         According to Javelin Strategy and
                                 22   Research, “one in every three people who is notified of being a potential fraud
                                 23   victim becomes one . . . with 46% of consumers who had cards breached
                                 24   becoming fraud victims that same year.” “Someone Became an Identity Theft
                                 25   Victim Every 2 Seconds Last Year,” Fox Business, Feb. 5, 2014 available at
                                 26   http://www.foxbusiness.com/personal-finance/2014/02/05/someone-became-
                                 27   identitytheft-victim-every-2-seconds-last-year.html attached hereto as Exhibit C.
                                 28
                                                                                 6
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                                  1         21.   In the case of a data breach, simply reimbursing a consumer for a
                                  2   financial loss due to fraud does not make that individual whole again. On the
                                  3   contrary, after conducting a study, the Department of Justice’s Bureau of Justice
                                  4   Statistics (“BJS”) found that “among victims who had personal information used
                                  5   for fraudulent purposes, 29% spent a month or more resolving problems.” See
                                  6   “Victims of Identity Theft,” U.S. Department of Justice, Dec. 2013, available at
                                  7   https://www.bjs.gov/content/pub/pdf/vit12.pdf attached hereto as Exhibit D. In
                                  8   fact, the BJS reported, “resolving the problems caused by identity theft [could]
                                  9   take more than a year for some victims.” Id. at 11.
                                 10         22.   A person whose PII has been obtained and compromised may not see
                                 11   the full extent of identity theft or fraud for years. It may take some time for the
                                 12   victim to become aware of the theft. In addition, a victim may not become aware
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                                 13   of charges when they are nominal, as typical fraud-prevention algorithms may not
                                 14   capture such charges. Those charges may be repeated, over and over again, on a
                                 15   victim’s account.
                                 16         E. Annual Monetary Losses from Identity Theft are in the Billions of
                                 17         Dollars
                                 18         23.   According to the BJS, an estimated 17.6 million people were victims
                                 19   of one or more incidents of identity theft in 2014. Among identity theft victims,
                                 20   existing bank or credit card accounts were the most common types of misused
                                 21   information. Id.
                                 22         24.   Javelin Strategy and Research reports that losses from identity theft
                                 23   reached $21 billion in 2013. See 2018 Identity Fraud Report, attached hereto as
                                 24   Exhibit E. There may be a time lag between when harm occurs and when it is
                                 25   discovered and also between when PII is stolen and when it is used. According to
                                 26   the U.S. Government Accountability Office (“GAO”), which conducted a study
                                 27   regarding data breaches:
                                 28
                                                                               7
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                                  1         [L]aw enforcement officials told us that in some cases, stolen data
                                            may be held for up to a year or more before being used to commit
                                  2         identity theft. Further, once stolen data have been sold or posted on
                                  3         the Web, fraudulent use of that information may continue for years.
                                            As a result, studies that attempt to measure the harm resulting from
                                  4         data breaches cannot necessarily rule out all future harm.
                                  5
                                      See GAO, Report to Congressional Requesters, at 33 (June 2007), available at
                                  6
                                  7   http://www.gao.gov/new.items/d07737.pdf, attached hereto as Exhibit F.

                                  8         25.   As a result of the data breach, Plaintiff and the Class Members now
                                  9   face years of constant surveillance of their financial and personal records,
                                 10   monitoring, and loss of rights. Plaintiff and the Class Members are also subject to
                                 11   a higher risk of phishing and pharming where hackers exploit information they
                                 12   already obtained to get even more PII. Plaintiff and the Class Members are
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                                 13   presently incurring and will continue to incur such damages in addition to any
                                 14   fraudulent credit and debit card charges incurred by them and the resulting loss of
                                 15   use of their credit and access to funds, whether or not such charges are ultimately
                                 16   reimbursed by the credit card companies.
                                 17         F.     Plaintiff and the Class Members Suffered Damages
                                 18         26.   The exposure of Plaintiff’s and the Class Members’ PII to
                                 19   unauthorized third parties resulted from three specific actions and/or inactions by
                                 20   Defendant. First, Marriott required that Plaintiff and the Class Members provide
                                 21   their PII to Marriott in order to book a Marriott hotel room. Second, unbeknownst
                                 22   to Plaintiff and the Class Members, Marriott enabled their PII to be disclosed to
                                 23   unauthorized third parties. Third, Marriott was entrusted with its customers’ PII
                                 24   without ensuring that it had in place a reasonable and adequate system of security
                                 25   procedures and practices to protect the PII of Plaintiff and the Class Members
                                 26   from being compromised and exposed to third parties. Therefore, the exposure of
                                 27   Plaintiff’s and the Class Members’ PII to unauthorized third parties was a direct
                                 28   and proximate result of Defendant’s failure to properly safeguard and protect
                                                                               8
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                                  1   Plaintiff’s and the Class Members’ PII from unauthorized access, use, and
                                  2   disclosure as well as Defendant’s failure to establish and implement appropriate
                                  3   administrative, technical, and physical safeguards to ensure the security and
                                  4   confidentiality of Plaintiff’s and the Class Members’ PII in order to protect such
                                  5   PII against reasonably foreseeable threats to the security of such information.
                                  6         27.    Plaintiff’s and the Class Members’ PII is private and sensitive in
                                  7   nature and was inadequately protected by Defendant. Defendant did not obtain
                                  8   Plaintiff’s and the Class Members’ knowing, voluntary, and informed consent to
                                  9   disclose their PII to other third parties as required by applicable law and industry
                                 10   standards.
                                 11         28.    As a direct and proximate result of Defendant’s wrongful actions and
                                 12   inaction, Plaintiff and the Class Members have been placed at an imminent,
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                                 13   immediate, and continuing risk of harm from identity theft and identity fraud,
                                 14   requiring them to take the time and effort to mitigate the actual and potential
                                 15   impact of the Marriott data breach on their lives by, among other things, placing
                                 16   “freezes” and “alerts” with credit reporting agencies, contacting their financial
                                 17   institutions, closing or modifying financial accounts, and closely reviewing and
                                 18   monitoring their credit reports and accounts for unauthorized activity.
                                 19         29.    Defendant’s wrongful actions and inaction directly and proximately
                                 20   caused the theft and dissemination into the public domain of Plaintiff’s and the
                                 21   Class Members’ PII, causing them to suffer, and continue to suffer, economic
                                 22   damages and other actual harm for which they are entitled to compensation,
                                 23   including:
                                 24         a.     The improper disclosure, compromising and theft of their PII;
                                 25         b.     The imminent and certainly impending injury flowing from potential
                                 26                fraud and identity theft posed by their PII being placed in the hands of
                                 27                unauthorized parties and misused via the sale of Plaintiff’s and the
                                 28                Class Members’ information on the Internet black market;
                                                                                9
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                                  1         c.    Ascertainable losses in the form of out-of-pocket expenses and the
                                  2               value of their time reasonably incurred to remedy or mitigate the
                                  3               effects of the data breach;
                                  4         d.    Ascertainable losses in the form of deprivation of the value of their
                                  5                PII, for which there is a well-established national and international
                                  6                market; and
                                  7         e.    Overpayments to Defendant for bookings and purchases during the
                                  8               period of the subject data breach in that implied in the price paid for
                                  9               such booking by Plaintiff and the Class Members to Defendant was
                                 10               the promise that some amount of the booking charge would be applied
                                 11               to the costs of implementing reasonable and adequate safeguards and
                                 12               security measures that would protect customers’ PII, which Defendant
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                                 13               did not implement, and, as a result, Plaintiff and the Class Members
                                 14               did not receive what they paid for and were overcharged by
                                 15               Defendant.
                                 16                          CLASS ACTION ALLEGATIONS
                                 17         30.    Plaintiff brings this action on her own behalf and, pursuant to Federal
                                 18   Rules of Civil Procedure Rule 23(a), (b)(2) and (b)(3), on behalf of the California
                                 19   class defined as follows:
                                 20                All persons residing in the State of California who booked a
                                                   room or rooms at a Marriott hotel at any time during the time
                                 21                applicable period (the “California Class”).
                                 22         31.    The Nationwide Class, initially defined as:
                                 23                All persons residing in the United States who booked a room
                                                   or rooms at a Marriott hotel at any time during the time
                                 24
                                                   applicable period (the “Nationwide Class”).
                                 25         32.    Excluded from the Class are: (a) Defendant, including any entity in
                                 26   which Defendant has a controlling interest, is a parent or a subsidiary of, or which
                                 27   is controlled by Defendant; (b) the officers, directors, and legal representatives of
                                 28
                                                                                10
                                                             COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   Defendant; and (c) the judge and the court personnel in this case as well as any
                                  2   members of their immediate families. Plaintiff reserves the right to amend the
                                  3   Class definition if discovery and/or further investigation reveal that it should be
                                  4   modified.
                                  5         33.   Numerosity. Fed. R. Civ. P. 23(a)(1). The members of the Class are
                                  6   so numerous that the joinder of all members of the Class in single action is
                                  7   impractical. While the exact number of Class Members is unknown to Plaintiff at
                                  8   this time, Defendant has acknowledged that customers’ PII was compromised for
                                  9   hotel bookings that were made during a period of at least 8 months. Therefore, it
                                 10   stands to reason that the number of Class Members numbers at least in the
                                 11   hundreds and likely in the thousands. The Class Members are readily identifiable
                                 12   from information and records in Defendant’s possession, custody, or control, such
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                                 13   as reservation receipts and confirmations.
                                 14         34.   Commonality and Predominance. Fed. R. Civ. P. 23(a)(2) and (b)(3).
                                 15   There are questions of law and fact common to the Class Members, which
                                 16   predominate over any questions affecting only individual Class Members. These
                                 17   common questions of law and fact include, without limitation:
                                 18         a.    Whether Defendant owed a duty to Plaintiff and the Class Members
                                 19               to safeguard and protect the security of their PII;
                                 20         b.    Whether Defendant took reasonable steps and measures to safeguard
                                 21               and protect Plaintiff’s and the Class Members’ PII;
                                 22         c.    Whether Defendant had a duty to promptly notify Plaintiff and Class
                                 23               Members that their PII was, or potentially could be, compromised;
                                 24         d.    Whether Defendant notified Plaintiff and the Class Members, in the
                                 25               most expedient time possible and without unreasonable delay, that
                                 26               their PII had been compromised;
                                 27         e.    Whether Defendant violated Cal. Civ. Code §1798.81.5(b) and/or (c)
                                 28               and/or Cal. Civ. Code §1798.82(a);
                                                                               11
                                                            COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1         f.     Whether Defendant violated California’s Unfair Competition Law by
                                  2                failing to safeguard and protect Plaintiff’s and the Class Members’
                                  3                PII;
                                  4         g.     Whether Defendant has an implied contractual obligation to Plaintiff
                                  5                and the Class Members to implement and maintain reasonable
                                  6                security measures to safeguard Plaintiff’s and the Class Members’
                                  7                PII;
                                  8         h.     Whether Defendant breached its implied contractual obligation to
                                  9                implement and maintain reasonable security measures to safeguard
                                 10                Plaintiff’s and the Class Members’ PII;
                                 11         i.     Whether Defendant breached the covenant of good faith and fair
                                 12                dealing implied in its contracts with Plaintiff and the Class Members;
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                                 13         j.     The nature of the relief, including equitable relief, to which Plaintiff
                                 14                and the Class Members are entitled;
                                 15         k.     Which security procedures and which data-breach notification
                                 16                procedures Defendant should be required to implement as part of any
                                 17                injunctive relief ordered by the Court; and
                                 18         l.     Whether Plaintiff and the Class Members are entitled to damages,
                                 19                restitution and/or injunctive relief.
                                 20         35.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiff’s claims are typical of
                                 21   those of other Class Members because Plaintiff’s PII, like that of every other Class
                                 22   Member, was misused, improperly disclosed, and/or negligently entrusted to a
                                 23   third party by Defendant.
                                 24         36.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiff will
                                 25   fairly and adequately represent and protect the interests of the Class Members.
                                 26   Plaintiff has retained competent counsel experienced in litigation of class actions,
                                 27   including consumer and data breach class actions, and Plaintiff intends to
                                 28   prosecute this action vigorously. Plaintiff’s claims are typical of the claims of all
                                                                                12
                                                             COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   of the other Class Members, and Plaintiff has the same non-conflicting interests as
                                  2   the other Class Members. Therefore, the interests of the Class Members will be
                                  3   fairly and adequately represented by Plaintiff and her counsel.
                                  4         37.    Superiority of Class Action. Fed. R. Civ. P. 23(b)(3). A class action is
                                  5   superior to other available methods for the fair and efficient adjudication of this
                                  6   controversy. The adjudication of this controversy through a class action will avoid
                                  7   the possibility of inconsistent and potentially conflicting adjudications of the
                                  8   asserted claims. There will be no difficulty in the management of this action as a
                                  9   class action, and the disposition of the claims of the Class Members in a single
                                 10   action will provide substantial benefits to all parties and to the Court. Damages for
                                 11   any individual Class Member are likely insufficient to justify the cost of
                                 12   individual litigation so that, in the absence of class treatment, Defendant’s
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                                 13   violations of law inflicting substantial damages in the aggregate would go un-
                                 14   remedied.
                                 15         38.    Class certification is also appropriate under Fed. R. Civ. P. 23(a) and
                                 16   (b)(2) because Defendant has acted or refused to act on grounds generally
                                 17   applicable to the Class, such that final injunctive relief or corresponding
                                 18   declaratory relief is appropriate as to the Class as a whole.
                                 19                               FIRST CLAIM FOR RELIEF
                                 20                       Violation of Cal. Civil Code §1798.81.5(b)
                                 21         39.    Plaintiff repeats and incorporates herein by reference each and every
                                 22   allegation contained in paragraphs 1 through 38, inclusive, of this Complaint as if
                                 23   set forth fully herein.
                                 24         40.    Cal. Civ. Code §1798.81.5(b) requires that “A business that owns,
                                 25   licenses, or maintains personal information about a California resident shall
                                 26   implement and maintain reasonable security procedures and practices appropriate
                                 27   to the nature of the information, to protect the personal information from
                                 28   unauthorized access, destruction, use, modification, or disclosure.”
                                                                                13
                                                                COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1           41.    Plaintiff and the Class Members are “customer[s]” within the
                                  2   meaning of Cal. Civil Code §1798.80(c) and are California residents.
                                  3           42.    Defendant is a “business” within the meaning of Cal. Civil Code
                                  4   §1798.80(a).
                                  5           43.    Plaintiff’s and the Class Members’ PII constitutes “personal
                                  6   information” within the meaning of Cal. Civil Code §1798.80(e).
                                  7           44.    Defendant violated Cal. Civ. Code §1798.81.5(b) by failing to
                                  8   implement and maintain reasonable security procedures and practices appropriate
                                  9   to the nature of the information to protect Plaintiff’s and the Class Members’ PII
                                 10   from unauthorized access, destruction, use, modification, or disclosure as
                                 11   evidenced by the fact that the security of Plaintiff’s and the Class Members’ PII
                                 12   was compromised and exposed to at least one unauthorized party and perhaps
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                                 13   more.
                                 14           45.    More specifically, Defendant provided Plaintiff’s and the Class
                                 15   Members’ PII to Marriott without ensuring that it had in place a reasonable and
                                 16   adequate system of security procedures and practices to protect the PII of Plaintiff
                                 17   and the Class Members from being compromised and exposed to third parties.
                                 18           46.    As a direct and proximate result of Defendant’s violation of Cal. Civ.
                                 19   Code §1798.81.5(b), Plaintiff’s and the Class Members’ PII was compromised
                                 20   and exposed in connection with the Marriott data breach.
                                 21           47.    As a result of the Marriott’s data breach and the exposure of their PII
                                 22   to unauthorized third parties, Plaintiff and the Class Members have been placed at
                                 23   an imminent, immediate, and continuing risk of identity theft-related harm and are
                                 24   thereby entitled to recover compensatory damages in an amount according to
                                 25   proof at trial pursuant to Cal. Civ. Code §1798.84(b).
                                 26                               SECOND CLAIM FOR RELIEF
                                 27                        Violation of Cal. Civil Code §1798.81.5(c)
                                 28           48.    Plaintiff repeats and incorporates herein by reference each and every
                                                                                 14
                                                              COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   allegation contained in paragraphs 1 through 38, inclusive, of this Complaint as if
                                  2   set forth fully herein.
                                  3           49.   Cal. Civ. Code §1798.81.5(c) requires that “A business that discloses
                                  4   personal information about a California resident pursuant to a contract with a
                                  5   nonaffiliated third party that is not subject to subdivision (b) shall require by
                                  6   contract that the third party implement and maintain reasonable security
                                  7   procedures and practices appropriate to the nature of the information, to protect
                                  8   the personal information from unauthorized access, destruction, use, modification,
                                  9   or disclosure.”
                                 10           50.   Plaintiff is informed and believes, and thereupon alleges, that
                                 11   Marriott is a nonaffiliated third party to which Defendant disclosed personal
                                 12   information about Plaintiff and the Class Members pursuant to contract and is not
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                                 13   subject to Cal. Civ. Code §1798.81.5(b).
                                 14           51.   Defendant violated Cal. Civ. Code §1798.81.5(c) by providing
                                 15   Plaintiff’s and the Class Members’ PII to Marriott without requiring by contract
                                 16   that Marriott have in place reasonable security procedures and practices
                                 17   appropriate to the nature of Plaintiff’s and the Class Members’ PII to protect their
                                 18   PII from unauthorized access, destruction, use, modification, or disclosure as
                                 19   evidenced by the fact that the security of Plaintiff’s and the Class Members’ PII
                                 20   was compromised and exposed to at least one unauthorized party and perhaps
                                 21   more.
                                 22           52.   As a direct and proximate result of Defendant’s violation of Cal. Civ.
                                 23   Code §1798.81.5(c), Plaintiff’s and the Class Members’ PII was compromised and
                                 24   exposed in connection with the Marriott data breach.
                                 25           53.   As a result of the Marriott data breach and the exposure of their PII to
                                 26   unauthorized third parties, Plaintiff and the Class Members have been placed at an
                                 27   imminent, immediate, and continuing risk of identity theft-related harm and are
                                 28   thereby entitled to recover compensatory damages in an amount according to
                                                                                15
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                                  1   proof at trial pursuant to Cal. Civ. Code §1798.84(b).
                                  2                                 THIRD CLAIM FOR RELIEF
                                  3                               Violation of Cal. Civil Code §1798.82
                                  4         54.    Plaintiff repeats and incorporates herein by reference each and every
                                  5   allegation contained in paragraphs 1 through 38, inclusive, of this Complaint as if
                                  6   set forth fully herein.
                                  7         55.    Cal. Civ. Code §1798.82(a) requires that “A person or business that
                                  8   conducts business in California, and that owns or licenses computerized data that
                                  9   includes personal information, shall disclose a breach of the security of the system
                                 10   following discovery or notification of the breach in the security of the data to a
                                 11   resident of California (1) whose encrypted personal information was, or is
                                 12   reasonably believed to have been, acquired by an unauthorized person …”
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                                 13         56.    Cal. Civ. Code §1798.82(a) further requires that the disclosure of a
                                 14   data breach be made “in the most expedient time possible and without
                                 15   unreasonable delay, consistent with the needs of law enforcement, as provided in
                                 16   subdivision (c), or any measures necessary to determine the scope of the breach
                                 17   and restore the reasonable integrity of the data system.”
                                 18         57.    The Marriott data breach constitutes a “breach of the security of the
                                 19   system” within the meaning of Cal. Civ. Code §1798.82(g).
                                 20         58.    Defendant did not announce to Plaintiff and the Class Members that
                                 21   the Marriott data breach had occurred and that it had resulted in the exposure of
                                 22   Plaintiff’s and the Class Members’ PII to an unauthorized party until November
                                 23   30, 2018 – more than four years after the date on which it was breached.
                                 24   Moreover, Defendant still has yet to provide appropriate notification to Plaintiff
                                 25   and the Class Members as required by Cal. Civ. Code §1798.82.
                                 26         59.    Defendant violated Cal. Civ. Code §1798.82 by failing to notify
                                 27   Plaintiff and the Class Members of the Marriott data breach in the most expedient
                                 28   time possible and without unreasonable delay and by failing to provide
                                                                                16
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                                  1   appropriate notification to Plaintiff and the Class Members as required by Cal.
                                  2   Civ. Code § 1798.82.
                                  3         60.    Upon information and belief, no law enforcement agency instructed
                                  4   Defendant that notification to Plaintiff and the Class Members would impede a
                                  5   criminal investigation.
                                  6         61.    Defendant’s unreasonable delay in providing appropriate notification
                                  7   to Plaintiff and the Class Members prevented Plaintiff and the Class Members
                                  8   from taking immediate, prophylactic steps to safeguard their PII and to mitigate
                                  9   any identity-theft related harm that Plaintiff and the Class Members may suffer as
                                 10   a result of the data breach.
                                 11         62.     As a direct and proximate result of Defendant’s violation of Cal.
                                 12   Civ. Code §1798.82, Plaintiff and the Class Members have been placed at an
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                                 13   imminent, immediate, and continuing risk of identity theft-related harm and are
                                 14   thereby entitled to recover compensatory damages in an amount according to
                                 15   proof at trial pursuant to Cal. Civ. Code §1798.84 (b).
                                 16                       FOURTH CLAIM FOR RELIEF
                                 17                                  Breach of Contract
                                 18                    (Breach of Implied Contractual Promise)
                                 19         63.    Plaintiff repeats and incorporates herein by reference each and every
                                 20   allegation contained in paragraphs 1 through 38, inclusive, of this Complaint as if
                                 21   set forth fully herein.
                                 22         64.    Defendant solicited and invited Plaintiff and the Class Members to
                                 23   book hotel rooms at one of Defendant’s hotels. Plaintiff and the Class Members
                                 24   accepted Defendant’s offers and booked hotel rooms at one of Defendant’s hotels.
                                 25         65.    When Plaintiff and the Class Members booked hotel rooms at one of
                                 26   Defendant’s hotels, they were required to provide their PII to Defendant. In so
                                 27   doing, Plaintiff and the Class Members entered into implied agreements with
                                 28   Defendant pursuant to which Defendant undertook a duty to safeguard and protect
                                                                                 17
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                                  1   such information and made an implied contractual promise to do so.
                                  2           66.   The contractual duty which Defendant undertook was implied by law
                                  3   under Cal. Civ. Code §1798.81.5(b) and (c).
                                  4           67.   Each booking by Plaintiff and the Class Members was made pursuant
                                  5   to their mutually agreed-upon implied agreements with Defendant under which
                                  6   Defendant agreed to: (a) implement and maintain reasonable security procedures
                                  7   to protect Plaintiff’s and the Class Members’ personal information from
                                  8   unauthorized access, destruction, use, modification, or disclosure; and (b) ensure
                                  9   that any third parties who were provided with Plaintiff’s and the Class Members’
                                 10   PII had in place a reasonable and adequate system of security procedures and
                                 11   practices to protect Plaintiff’s and the Class Members’ PII from being
                                 12   compromised and exposed to third parties.
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                                 13           68.   Plaintiff and the Class Members would not have provided and
                                 14   entrusted their PII to Defendant in the absence of the implied contractual promise.
                                 15           69.   Plaintiff and the Class Members fully performed their obligations
                                 16   under their agreements with Defendant.
                                 17           70.   Defendant breached the implied contractual promise that it made to
                                 18   Plaintiff and the Class Members by: (a) failing to implement and maintain
                                 19   reasonable security procedures to protect Plaintiff’s and the Class Members’ PII
                                 20   from unauthorized access, destruction, use, modification, or disclosure; and (b)
                                 21   failing to ensure that any third parties who were provided with Plaintiff’s and the
                                 22   Class Members’ PII had in place a reasonable and adequate system of security
                                 23   procedures and practices to protect Plaintiff’s and the Class Members’ PII from
                                 24   being compromised and exposed to third parties.
                                 25           71.   Plaintiff and the Class Members have lost the benefit of their bargain
                                 26   with Defendant by having their PII compromised and exposed and have been
                                 27   placed at an imminent, immediate, and continuing risk of identity theft-related
                                 28   harm.
                                                                               18
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                                  1         72.    As a direct and proximate result of Defendant’s breaches of the
                                  2   implied contractual promises alleged herein, Plaintiff and the Class Members
                                  3   sustained actual losses and damages in an amount according to proof at trial but in
                                  4   excess of the minimum jurisdictional requirement of this Court.
                                  5                               FIFTH CLAIM FOR RELIEF
                                  6                                    Breach of Contract
                                  7                  (Breach of Covenant of Good Faith and Fair Dealing)
                                  8         73.    Plaintiff repeats and incorporates herein by reference each and every
                                  9   allegation contained in paragraphs 1 through 38, inclusive, of this Complaint as if
                                 10   set forth fully herein.
                                 11         74.    California law implies a covenant of good faith and fair dealing in
                                 12   every contract.
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                                 13         75.    Plaintiff and the Class Members contracted with Defendant by
                                 14   accepting Defendant’s offers and paying for the booking of hotel rooms.
                                 15
                                 16         76.    Plaintiff and the Class Members performed all of their duties under
                                 17   their agreements with Defendant.
                                 18         77.    All of the conditions required for Defendant’s performance under the
                                 19   contracts have occurred.
                                 20         78.    Defendant breached the covenant of good faith and fair dealing
                                 21   implied in its contracts with Plaintiff and the Class Members by engaging in the
                                 22   following conscious and deliberate acts: (a) failing to implement and maintain
                                 23   reasonable security procedures to protect Plaintiff’s and the Class Members’ PII
                                 24   from unauthorized access, destruction, use, modification, or disclosure; and (b)
                                 25   failing to ensure that any third parties who were provided with Plaintiff’s and the
                                 26   Class Members’ PII had in place a reasonable and adequate system of security
                                 27   procedures and practices to protect Plaintiff’s and the Class Members’ PII from
                                 28   being compromised and exposed to third parties.
                                                                                19
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                                  1         79.    Plaintiff and the Class Members have lost the benefit of their bargain
                                  2   with Defendant by having their PII compromised and have been placed at an
                                  3   imminent, immediate, and continuing risk of identity theft-related harm.
                                  4         80.    As a direct and proximate result of Defendant’s breach of the
                                  5   covenant of good faith and fair dealing, Plaintiff and the Class Members have
                                  6   suffered injury and are entitled to damages in an amount to be proven at trial but
                                  7   in excess of the minimum jurisdictional requirement of this Court.
                                  8                               SIXTH CLAIM FOR RELIEF
                                  9                      Violation of Cal. Bus. & Prof. Code § 17200
                                 10                                (Unlawful Business Practices)
                                 11         81.    Plaintiff repeats and incorporates herein by reference each and every
                                 12   allegation contained in paragraphs 1 through 38, inclusive, of this Complaint as if
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                                 13   set forth fully herein.
                                 14         82.    Defendant has violated Cal. Bus. & Prof. Code §17200 et seq. by
                                 15   engaging in unlawful business acts and practices that constitute acts of “unfair
                                 16   competition” as defined in Cal. Bus. & Prof. Code §17200.
                                 17         83.    Defendant violated Cal. Civ. Code §1798.81.5(b) by failing to
                                 18   implement and maintain reasonable security procedures and practices appropriate
                                 19   to the nature of Plaintiff’s and the Class Members’ PII to protect their PII from
                                 20   unauthorized access, destruction, use, modification, or disclosure.
                                 21         84.    Defendant violated Cal. Civ. Code §1798.81.5(c) by providing
                                 22   Plaintiff’s and the Class Members’ PII without requiring that its security in place
                                 23   be of high standards and practices appropriate to the nature of Plaintiff’s and the
                                 24   Class Members’ PII to protect their PII from unauthorized access, destruction, use,
                                 25   modification, or disclosure.
                                 26         85.    Defendant violated Cal. Civ. Code §1798.82 by failing to notify
                                 27   Plaintiff and the Class Members of the Marriott data breach in the most expedient
                                 28   time possible and without unreasonable delay and by failing to provide
                                                                                20
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                                  1   appropriate notification to Plaintiff and the Class Members as required by Cal.
                                  2   Civ. Code § 1798.82.
                                  3          86.    As a direct and proximate result of Defendant’s unlawful acts and
                                  4   practices, Plaintiff and the Class Members were injured and lost money or
                                  5   property, including but not limited to the booking fees that they paid to Defendant
                                  6   and the loss of their legally protected interest in the confidentiality and privacy of
                                  7   their PII.
                                  8          87.    Plaintiff and the Class Members seek disgorgement and restitution to
                                  9   Plaintiff and the Class Members of money or property that Defendant acquired
                                 10   from Plaintiff and the Class Members by means of its unlawful business practices.
                                 11          88.    Plaintiff and the Class Members also seek injunctive relief against
                                 12   Defendant.
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                                 13                                 PRAYER FOR RELIEF
                                 14          WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for
                                 15   relief as follows:
                                 16                        On The First And Second Claims For Relief
                                 17          For compensatory damages in an amount according to proof at trial; and
                                 18          For affirmative injunctive relief mandating that Defendant implement and
                                 19   maintain reasonable security procedures and practices to protect Plaintiff’s and the
                                 20   Class Members’ PII from unauthorized access, destruction, use, modification, or
                                 21   disclosure.
                                 22                             On The Third Claim For Relief
                                 23          For compensatory damages in an amount according to proof at trial; and
                                 24          For affirmative injunctive relief mandating that Defendant provide
                                 25   appropriate notification of the data breach to Plaintiff and the Class Members as
                                 26   required by Cal. Civ. Code §1798.82.
                                 27                        On The Fourth And Fifth Claims For Relief
                                 28          For compensatory damages in an amount according to proof at trial.
                                                                                21
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                                  1                               On The Sixth Claim For Relief
                                  2         For disgorgement and restitution to Plaintiff and the Class Members of the
                                  3   money or property that Defendant acquired from Plaintiff and the Class Members
                                  4   by means of its unlawful business practices;
                                  5         For affirmative injunctive relief mandating that Defendant implement and
                                  6   maintain reasonable security procedures and practices to protect Plaintiff’s and the
                                  7   Class Members’ PII from unauthorized access, destruction, use, modification, or
                                  8   disclosure; and
                                  9         For affirmative injunctive relief mandating that Defendant provide
                                 10   appropriate notification of the data breach to Plaintiff and the Class Members as
                                 11   required by Cal. Civ. Code §1798.82.
                                 12                                 On All Claims For Relief
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                                 13         For costs of suit and litigation expenses; and
                                 14         For such other and further relief as this Court may deem just and
                                 15         proper.
                                 16                               DEMAND FOR JURY TRIAL
                                 17         Plaintiff, on behalf of herself and the Class, hereby demands a trial by jury
                                 18   on all claims so triable.
                                 19
                                 20   Dated: November 30, 2018                       WILSHIRE LAW FIRM
                                 21
                                 22                                                  /s/
                                                                                     Bobby Saadian
                                 23                                                  Attorneys for Plaintiff
                                 24
                                 25
                                 26
                                 27
                                 28
                                                                               22
                                                              COMPLAINT AND DEMAND FOR JURY TRIAL
